         CASE 0:15-cr-00046-MJD Document 12 Filed 11/26/14 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Case File No. 14-MJ-1024 (JSM)

UNITED STATES OF AMERICA,                )
                                         )     MEMORANDUM IN SUPPORT
       Plaintiff,                        )     MOTION FOR REVIEW OF
                                         )     MAGISTRATE JUDGE’S DENIAL
          v.                             )     OF GOVERNMENT’S MOTION
                                         )     FOR DETENTION AND FOR STAY
ABDULLAHI YUSUF,                         )     OF RELEASE ORDER
                                         )
       Defendant.                        )


       The United States of America, through its attorneys, Andrew M. Luger, United

States Attorney for the District of Minnesota, and Assistant United States Attorneys John

Docherty and Andrew Winter, has filed a motion seeking review and reversal of the

Magistrate Judge’s decision to release the defendant on conditions, and also seeking a

stay of the Magistrate Judge’s release order while the District Court reviews that order

and this motion. The United States will soon file a more complete memorandum. The

instant document is meant only to provide an outline of the government’s argument,

because, given that the Magistrate Judge declined to stay her release order pending

review, the situation is exigent.

       1. The Defendant is Charged with a Federal Crime of Terrorism, Namely,
          Conspiring to Provide Material Support to The Islamic State in Iraq and
          the Levant (“ISIL”).


       The complaint charging the defendant is attached hereto. The Magistrate Judge

found probable cause to believe that the defendant had in fact committed the crime

charged in the complaint.
     CASE 0:15-cr-00046-MJD Document 12 Filed 11/26/14 Page 2 of 3



   2. The Defendant has been Released to Live with his Parents, but the
      Defendant has Already Eluded his Parents Once, When he Attempted to
      Travel to Syria and Fight with ISIL.

       The defendant has been released to the custody of his parents. The defendant

was already living with his parents on May 28, 2014, when he attempted to travel to

Syria to join ISIL. As the attached complaint shows, and as the testimony at the

preliminary and detention hearing showed, the defendant, on May 28, 2014, was

dropped off by his father at school. Rather than staying there, he waited until his

father had left, then went to a nearby mosque, where he was picked up and taken to

the airport by a co-conspirator. Earlier, on May 5, 2014, the defendant had been

dropped off at school by his father, and rather than staying at school, he again walked

to a nearby mosque, from where he caught a bus to the passport office and collected a

passport which he had applied for an expedited basis.

       The defendant’s parents have told the Federal Bureau of Investigation that their

son, the defendant, applied for and obtained a passport, deposited $1,500 into his bank

account, purchased an airline ticket to Istanbul, and went to the airport, all without

their knowledge. The defendant confirmed these facts on cross-examination when he

testified at the detention portion of his preliminary and detention hearing.

   3. The Defendant Lied to the FBI When Questioned About his Travel Plans.

       As detailed in the complaint, when questioned by the FBI at the airport, the

defendant lied by saying that he had saved up to travel to Turkey; that he was meeting

a Facebook friend in Turkey; and that the defendant was going to stay in Turkey.
     CASE 0:15-cr-00046-MJD Document 12 Filed 11/26/14 Page 3 of 3



   4. The Recommendation of Pretrial Services

         The bond report of United States Probation and Pretrial Services, when

presented at the initial appearance, recommended detention. At the preliminary and

detention hearing held the next day, that office had reversed its previous

recommendation and recommended release on conditions.            The only apparent

difference between the two reports is that the defendant’s parents had spoken to

Pretrial Services and confirmed the information the defendant provided about his

employment, school attendance, and other such biographical matters. However, as

noted above, these are the same parents who were not aware of the defendant leaving

the country without their knowledge on May 28, 2014.

                                      CONCLUSION

         The defendant in this case has already eluded his parents once and has told

multiple lies to law enforcement. Review and reversal of the Magistrate Judge’s order

releasing the defendant to those parents is respectfully sought, and a stay of the

Magistrate Judge’s release order to allow this motion to be heard is also respectfully

sought.

Dated:      November 26, 2014                      Respectfully Submitted,

                                                   ANDREW M. LUGER
                                                   United States Attorney

                                                   s/ John Docherty

                                                   BY: JOHN DOCHERTY
                                                   Assistant United States Attorney
